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                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO

                                                   )
 JAMES HAYDEN
                                                   )
                                                   )        Case No.     1:23-cv-01721-CAB
        v.                                         )
                                                   )        Corporate Disclosure Statement
 2K GAMES, INC., and TAKE-TWO                      )
 INTERACTIVE SOFTWARE, INC.                        )

         Pursuant to the Corporate Disclosure Statement provisions in Local Civil Rule 3.13(b) and
Local Criminal Rule 16.2: Any non-governmental corporate party to a proceeding must file a
statement identifying all its parent, subsidiary and other affiliate corporations and listing any publicly held
company that owns 10% or more of the party’s stock. A party must file the statement upon filing a
complaint, answer, motion, response or other pleading in this Court, whichever occurs first. The
obligation to disclose any changes will be continuing throughout the pendency of the case.

        In compliance with those provisions, this Corporate Disclosure Statement is filed on behalf of:
          Defendants 2K Games, Inc. and Take-Two Interactive Software, Inc.
         _____________________________________________________________________.

1.      Is said party a parent, subsidiary or other affiliate of a publicly owned corporation?
            ✘
         _____   Yes        _____ No.

        If the answer is Yes, list below the identity of the parent, subsidiary or other affiliate corporation
        and the relationship between it and the named party:
         2K Games, Inc. is wholly-owned by the publicly held Take-Two Interactive
         Software, Inc. ("Take-Two"), which is traded on the NASDAQ under the stock
         ticker symbol "TTWO."

         Take-Two has no parent corporation.

2.      Is there a publicly owned corporation, not a party to the case, that has a financial interest in the
        outcome? _____ Yes             ✘
                                     _____  No.

        If the answer is Yes, list the identity of such corporation and the nature of the financial interest:




          s/ Matthew J. Cavanagh                               12/13/2023
         (Signature of Counsel)                                (Date)
